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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY




    UNITED STATES,

                Plaintiff,                                         Crim. No. 18-703

         v.
                                                                       ORDER
    MICHAEL HEALY, et al.
                Defendant.


John Michael Vazquez, U.S.D.J.

        This matter was opened to the Court on the motion of Defendant Michael Healy for the

disclosure of Brady material. D.E. 95. The Government opposed the motion, and the Court

considered all submissions. D.E. 95, 99, 103, 104, 108. The Court then heard oral argument on

January 13, 2021. For the reasons stated on the record, and for good cause shown,

        IT IS on this 13th day of January, 2021, hereby

        ORDERED that Defendant’s motion, D.E. 95, is DENIED without prejudice 1 except

that

        1. The Government shall produce to the Court for an in camera review an unredacted
           copy of the Capiello video-taped statement; and

        2. The Government shall disclose to defense counsel the identity of the eyewitness who
           stated, in substance, that the eyewitness saw two Hispanic males running from the white
           Mazda as to the killing of J.C.; and it is further




1
 This ruling does not relieve the Government from its ongoing duty to disclose additional Brady
material should the Government become aware of such material.
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      ORDERED that Defendant’s motion, D.E. 95, for an in camera review of the

Government’s Brady review process is DENIED without prejudice.



                                              __________________________
                                              John Michael Vazquez, U.S.D.J.




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